    8:06-mj-00073-TDT      Doc # 13    Filed: 06/09/06     Page 1 of 2 - Page ID # 13




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA                       )
                                               )         8:06MJ73
                    Plaintiff,                 )
                                               )
      vs.                                      )         DETENTION ORDER
                                               )
LEOPOLD MEJIA,                                 )
                                               )
                    Defendant.                 )

A. Order For Detention
   After the defendant waived a detention hearing pursuant to 18 U.S.C. § 3142(f) of the
   Bail Reform Act on June 9, 2006, the Court orders the above-named defendant
   detained pursuant to 18 U.S.C. § 3142(e) and (i).

B. Statement Of Reasons For The Detention
   The Court orders the defendant’s detention because it finds:
     X By a preponderance of the evidence that no condition or combination of
         conditions will reasonably assure the appearance of the defendant as required.
         By clear and convincing evidence that no condition or combination of conditions
         will reasonably assure the safety of any other person or the community.

C. Finding Of Fact
   The Court’s findings are based on the evidence which was in the Pretrial Services
   Report, and includes the following:
     X (1) Nature and circumstances of the offense charged:
            X    (a) The crime: producing false identification documents (Count I) in
                     violation of 18 U.S.C. § 1028 carries a maximum sentence of fifteen
                     years imprisonment; fraudulent representation of a social security
                     identification number (Count II) in violation of 42 U.S.C. § 408
                     carries a maximum sentence of five years imprisonment.
                 (b) The offense is a crime of violence.
                 (c) The offense involves a narcotic drug.
                 (d) The offense involves a large amount of controlled substances, to wit:
         (2) The weight of the evidence against the defendant is high.
     X (3) The history and characteristics of the defendant including:
                 (a) General Factors:
                               The defendant appears to have a mental condition which
                               may affect whether the defendant will appear.
                               The defendant has no family ties in the area.
                               The defendant has no steady employment.
                               The defendant has no substantial financial resources.
                               The defendant is not a long time resident of the community.
                               The defendant does not have any significant community
                               ties.
                       X       Past conduct of the defendant: the defendant is alleged to
                               have made and sold false identification cards to numerous
                               individuals in the Nebraska area and is quite capable of
                               doing so for himself if needed to avoid detection.
                               The defendant has a history relating to drug abuse.
                               The defendant has a history relating to alcohol abuse.
                               The defendant has a significant prior criminal record.
    8:06-mj-00073-TDT       Doc # 13    Filed: 06/09/06    Page 2 of 2 - Page ID # 14


DETENTION ORDER - Page 2

                               The defendant has a prior record of failure to appear at
                               court proceedings.
                  (b) At the time of the current arrest, the defendant was on:
                               Probation
                               Parole
                               Release pending trial, sentence, appeal or completion of
                               sentence.
                  (c) Other Factors:
                        X      The defendant is an illegal alien and is subject to
                               deportation.
                               The defendant is a legal alien and will be subject to
                               deportation if convicted.
                        X      The Bureau of Immigration and Custom Enforcement
                               (BICE) has placed a detainer with the U.S. Marshal.
                               Other:



D. Additional Directives
   Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:
         1. The defendant be committed to the custody of the Attorney General for
              confinement in a corrections facility separate, to the extent practicable from
              persons awaiting or serving sentences or being held in custody pending
              appeal; and
         2. The defendant be afforded reasonable opportunity for private consultation
              with counsel; and
         3. That, on order of a court of the United States, or on request of an attorney
              for the government, the person in charge of the corrections facility in which
              the defendant is confined deliver the defendant to a United States Marshal
              for the purpose of an appearance in connection with a court proceeding.

DATED:     June 9, 2006.                  BY THE COURT:
                                          s/Thomas D. Thalken
                                          United States Magistrate Judge
